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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
______________________________________
                                       )
U.S. SECURITIES AND EXCHANGE           )
COMMISSION,                            )
                                       )  Civil Action No. 18-CV-5587
                   Plaintiff,          )
           v.                         )
                                       )  Judge Hon. John Z. Lee
EQUITYBUILD, INC., EQUITYBUILD         )
FINANCE, LLC, JEROME H. COHEN,         )  Magistrate Judge Young B. Kim
and SHAUN D. COHEN,                    )
                                       )
                  Defendants,           )
________________________________ _____​)

 DEFENDANTS RESPONSE TO THE HONORABLE JUDGE KIM’S MINUTE ENTRY DOCUMENT NO.
                                    457

       Jerome H. Cohen (“Defendant”) respectfully files this Response (“Response”) ​TO THE

HONORABLE JUDGE KIM’S MINUTE ENTRY DOCUMENT NO. 457​.

                                        BACKGROUND


       In Minute Entry Document No. 457, the Honorable Judge Kim ordered the Defendant to

appear on August 14th, 2019 at 11:00am. The defendant respectfully informs the court that he is

unable to attend the hearing scheduled for today, August 14th, 2019. The Defendant has no

desire to defy the court but the fact is that the defendant has been having health issues and

furthermore, has no debit card, no credit card and no money and has tried every plausible outlet

to fund the travel and has been unsuccessful.




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August 14​th​, 2019
                                      Respectfully submitted,

                                      DEFENDANT JEROME H. COHEN

                                      By:
                                             Jerome H. Cohen


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                               CERTIFICATE OF SERVICE


I hereby certify that on August 14​th​, 2019, a copy of the foregoing ​TO DEFENDANTS RESPONSE
TO THE HONORABLE JUDGE KIM’S MINUTE ENTRY DOCUMENT NO. 457 ​was served by filing
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to counsel of record.




                                                               Shaun D. Cohen




                                                               Jerome H. Cohen




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